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 3
 4                      IN THE UNITED STATES DISTRICT COURT
 5                    FOR THE EASTERN DISTRICT OF CALIFORNIA
 6
     UNITED STATES OF AMERICA,                  )
 7                                              )     2:09-cr-00170-GEB
                     Plaintiff,                 )
 8                                              )
                v.                              )     ORDER DENYING EACH
 9                                              )     DEFENDANT’S MOTION TO
     ROBERT L. CARR, THERESA ANN                )     WITHDRAW PLEA AND SCHEDULING
10   CARR,                                      )     SENTENCING HEARING
                                                )
11                 Defendants.                  )
     ________________________________           )
12
13              Each Defendant moves under Federal Rule of Criminal Procedure

14   (“Rule”) 11(d)(2)(B) to withdraw his or her guilty plea entered on

15   February 17, 2012. Defendant Theresa Carr also seeks “to make an

16   untimely objection to the pre-sentence report” in the event that her

17   plea agreement is vacated. (Theresa Carr’s Mot. to Allow Untimely

18   Objection & Mot. to Withdraw Plea (“T.C.’s Mot.”) 1:19-21, 2:1-3, ECF

19   No. 92.)

20              The government argues each Defendant has expressly waived the

21   right to file a motion to withdraw his or her guilty plea. (Gov’t Mot.

22   to Preclude Robert Carr from Renewing Mot. to Withdraw Guilty Pleas

23   (“Gov’t Mot.”) 1:24-2:1, ECF No. 93; Gov’t Opp’n to Defs.’ Mots. (“Gov’t

24   Opp’n”) 13:14-17, ECF No. 102.) The government also opposes each plea

25   withdrawal   motion   on   its   merits,       arguing,   inter   alia,   that   each

26   Defendant has not met his or her burden of showing a “fair and just

27   reason” for withdrawing the guilty plea. (Gov’t Opp’n 2:1-3, 13:20-25.)

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 1               For the below-stated reasons, neither Defendant has shown a
 2   “fair and just reason” to withdraw his or her guilty plea. Therefore,
 3   each Defendant’s motion to withdraw his or her guilty plea is DENIED,
 4   and decisions on the government’s waiver arguments and Theresa Carr’s
 5   motion to allow untimely objections to the pre-sentence report are
 6   unnecessary.
 7                                I. LEGAL STANDARD
 8               Rule 11(d)(2)(B) provides: “[a] defendant may withdraw a plea
 9   of guilty . . . after the court accepts the plea, but before it imposes
10   sentence if: . . . the defendant can show a fair and just reason for
11   requesting the withdrawal.”
12               “A defendant does not always have the right to withdraw a plea
13   because the decision to allow withdrawal of a plea is solely within the
14   discretion of the district court.” United States v. Nostratis, 321 F.3d
15   1206, 1208 (9th Cir. 2003). “The defendant has the burden to show a fair
16   and just reason for withdrawal of a plea.” Id.
17               “‘Fair and just reasons for withdrawal include inadequate Rule
18   11   plea      colloquies,   newly    discovered      evidence,        intervening
19   circumstances, or any other reason for withdrawing the plea that did not
20   exist when the defendant entered his [or her] plea.’” United States v.
21   Davis, 428 F.3d 802, 805 (9th Cir. 2005) (quoting United States v.
22   Ortega-Ascanio, 376 F.3d 879, 883 (9th Cir. 2004)).
23                                  II. DISCUSSION
24        A.     Robert Carr’s Motion
25               Mr. Carr argues he should be permitted to withdraw his guilty
26   plea because “he entered his guilty plea[] under duress, not thinking
27   clearly, knowing his then attorney [Michael Long] was not prepared to go
28   to trial a few weeks later, and not believing he had any other viable


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 1   option.” (Robert Carr’s Mot. (“R.C.’s Mot.”) 7:8-12, ECF No. 90.)                   Mr.
 2   Carr further argues: “[b]ecause of [Mr. Long’s] ineffectiveness, lack of
 3   preparation for trial, and improper coaching and advice to Mr. Carr as
 4   to how to answer the Court’s specific inquiries, [his] guilty plea[]
 5   w[as] not made knowingly, intelligently, or voluntarily.” (Id. at
 6   9:12-14.)
 7               Mr. Carr filed a declaration in support of his motion, in
 8   which he declares that he and his wife “are innocent of all charges
 9   alleged against [them,]” Mr. Long did not adequately investigate “the
10   facts and circumstances . . . which demonstrate [his] innocence[,]” and
11   “[f]rom the outset, [Mr. Carr] never agreed with Mr. Long's assessment
12   of [his] case.” (Robert Carr Decl. ¶¶1, 4, 11; ECF No. 90-1.) Mr. Carr
13   avers    that   “[he]   prodded     [Mr.   Long]      carefully    about   his    trial
14   preparation and knowledge of the case[, and Mr. Long] clearly was not
15   ready to go to trial.” (Id. at ¶19.) Mr. Carr also declares that he did
16   not see a copy of the plea agreement until the morning of his change of
17   plea    hearing,   he   did   not    “have     time    to   read   the   entire   plea
18   agreement[,]” and that he was “heavily sedated with muscle relaxers and
19   Vicodin” that morning. (Id. at ¶¶22, 29.) Further, Mr. Carr avers that
20   he told Mr. Long on the morning of his change of plea hearing that he
21   was medicated and “not thinking clearly,” and that Mr. Long “coached”
22   him to deny taking any medication during the plea colloquy. (Id. at
23   ¶30.) In essence, Mr. Carr declares that he “entered his [guilty plea]
24   against [his] best judgment, under the duress of all the circumstances
25   of the moment, in pain, and not thinking clearly.” (Id. at ¶40.)
26               The government rejoins that Mr. Carr “has not met his burden
27   of showing a fair and just reason for withdrawing the guilty plea[] as
28   his proffered reasons are based on false information and lies.” (Gov’t


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 1   Opp’n   2:1-3.)    Mr.   Long   prepared       a   declaration   in   support   of   the
 2   government’s opposition, in which he “emphatically den[ies] that [he]
 3   . . . was ineffective as [Mr.] Carr’s defense counsel and was not
 4   prepared for trial; . . . knew that [Mr. Carr] was under the influence
 5   of any medication at his change of plea hearing; and/or . . . advised
 6   him to hide the purported fact that he was under the influence of
 7   medication . . . during the change of plea hearing.” (Long Decl. ¶5, ECF
 8   No. 102-1.) In his declaration, Mr. Long identifies his theory of
 9   defense and details his efforts to defend Mr. Carr. (Id. at ¶¶6-21,
10   23-25, 28-30.) Mr. Long also describes in his declaration the plea
11   agreement negotiations with the government’s counsel, Mr. Wong, and his
12   communication with Mr. Carr concerning those negotiations. (Id. at ¶¶22,
13   26-27, 32-44.)
14               Mr. Carr’s proffered reasons to withdraw his plea do not meet
15   the “fair and just reason” standard. Although “[e]rroneous or inadequate
16   legal advice may . . . constitute a fair and just reason for plea
17   withdrawal,” United States v. McTiernan, 546 F.3d 1160, 1167 (9th Cir.
18   2008), Mr. Carr has not shown that “the advice he received from [Mr.
19   Long] was not within the range of competence demanded of attorneys in
20   criminal cases.” United States v. Hiett II, 220 Fed. Appx. 638, 638 (9th
21   Cir. 2007). Mr. Carr’s declaration does not provide any facts to support
22   his conclusory statements that Mr. Long was unprepared for trial and/or
23   conducted     an   inadequate     investigation.          See    United   States     v.
24   Gonzalez-Rodriguez, 395 Fed. Appx. 443, 444-45 (9th Cir. 2010) (denying
25   motion to withdraw plea based upon claimed ineffective assistance of
26   counsel stating the defendant “failed to present evidence substantiating
27   his claims”).
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 1               Further, Mr. Carr’s allegations that his guilty plea was not
 2   entered by him knowingly, intelligently, or voluntarily, are belied by
 3   the plea colloquy record, and the manner in which Mr. Carr conducted
 4   himself at that proceeding. “[Mr. Carr] made no mention of being
 5   pressured to plead guilty [during the plea colloquy], and instead
 6   [stated under oath]” that he was “fully satisfied with the counsel, the
 7   representation, and advice given to [him] in th[e] case.” (Change of
 8   Plea Tr. 6:23-7:1, ECF No. 67.) Mr. Carr further testified under oath at
 9   the plea colloquy that he was not “presently under the influence of any
10   drug,   medication,    or   alcoholic   beverage    of   any   kind[,]”   had   not
11   “consumed any drugs, alcohol or medication in the last 24 hours[,]” and
12   that he was “entering th[e] plea of guilty voluntarily because it was
13   what [he] want[ed] to do.” (Id. at 6:9-15, 7:12-14.) “Statements made by
14   a defendant during a guilty plea hearing carry a strong presumption of
15   veracity in subsequent proceedings attacking the plea.” United States v.
16   Ross, 511 F.3d 1233, 1236 (9th Cir. 2008); see also United States v.
17   Castello, 724 F.2d 813, 815 (9th Cir. 1984) (stating the district court
18   “was entitled to credit [the defendant’s] testimony at the Rule 11
19   hearing over [his] subsequent affidavit”).
20               Moreover, the undersigned judge conducted Mr. Carr’s change of
21   plea hearing, and during that hearing, “[Mr. Carr] satisfied [the
22   undersigned judge] that he was competent and capable, was knowingly and
23   intelligently waiving his rights, and was satisfied with his attorney’s
24   services.” United States v. Andolini, 705 F.3d 335, 339 (8th Cir. 2013).
25   Mr. Carr’s “self-serving, post-plea claims that he [involuntarily] pled
26   guilty fly directly in the face of his own plea hearing testimony.” Id.
27               For the stated reasons, Mr. Carr has not presented a fair and
28   just reason to withdraw his guilty plea. Further, “[n]o evidentiary


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 1   hearing is needed [since Mr. Carr’s] allegations are . . . inherently
 2   incredible and [include] mere[] conclusions [concerning Mr. Long’s
 3   representation] rather than statements of fact.” United States v.
 4   Chambers, 710 F.3d 23, 30 (1st Cir. 2013); accord Andolini, 705 F.3d at
 5   338; see also United States v. Erlenborn, 483 F.2d 165, 167-68                (9th
 6   Cir. 1973) (stating “[i]t was not error for the district court to deny
 7   [the defendant’s] motion for an [evidentiary] hearing” on a motion to
 8   withdraw a guilty plea based in part on a claim of attorney coercion,
 9   “when [the] defendant expressly represent[ed] in open court [during the
10   plea colloquy] that his plea [was] voluntary”).
11        B.      Theresa Carr’s Motion
12                Theresa Carr seeks to withdraw her guilty plea, arguing her
13   plea agreement’s “sentence of 3 months for a loss of $120,000 would
14   create    the   appearance    of   unwarranted   disparity    with   other   §1B1.1
15   defendants who received sentences within the guidelines.” (T.C.’s Mot.
16   4:16-19.)
17                The government rejoins:
18                     Theresa Carr moves to withdraw her guilty
                  plea[] on the stated grounds that her anticipated
19                3-month sentence of incarceration as provided for
                  in the [Rule] 11(c)(1)(C) plea agreement is so low
20                that it creates an appearance of disparity between
                  her and similarly situated defendants. She alleges
21                no injury or prejudice to herself, if not allowed
                  to withdraw her guilty plea[]. She has not
22                satisfied her burden of showing a fair and just
                  reason to allow her to withdraw her guilty plea[].
23
24   (Gov’t Opp’n 13:20-25.)
25                Any apparent disparity between Mrs. Carr’s requested three-
26   month sentence and the sentences of other similarly situated defendants
27   existed at the time she entered her guilty plea. Since the Ninth Circuit
28   has “never held that [Rule 11(d)(2)(B)] embraces circumstances known to


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 1   a   defendant    at   the   time   of   a   guilty   plea[,]”   United    States   v.
 2   Mayweather, 634 F.3d 498, 506 (9th Cir. 2010), Mrs. Carr has not
 3   presented a fair and just reason to withdraw her guilty plea.
 4                                      III. CONCLUSION
 5                For the stated reasons, each Defendant’s motion to withdraw
 6   his or her guilty plea is DENIED.
 7                Sentencing for Robert Carr and Theresa Carr is scheduled to
 8   commence at 9:00 a.m. on May 17, 2013.
 9   Dated:     May 14, 2013
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11                                        GARLAND E. BURRELL, JR.
12                                        Senior United States District Judge

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